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                                                   June 8, 2022

By ECF

Honorable Mary Kay Vyskocil
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:     United States v. Erica Garcia, 20 Cr. 160 (MKV)

Dear Judge Vyskocil:

        Doctor Garcia and Michael Tannuzzo are scheduled for trial on September 12, 2022. I write to
respectfully request a two-week adjournment of the trial date. Mr. Tannuzzo’s lawyer, Donald Rollock
joins in the application. The government has no objection.

         I am requesting an adjournment because I do not have sufficient time to prepare Dr. Garcia’s
case for trial before early September. I begin another trial before Judge Furman on June 13 that will
last three to four weeks. See United States v. Joshua Schulte, 17 Cr. 548 (JMF). Mr. Schulte is pro se,
and I am serving as one of his standby counsel. I told the Court about this matter when we discussed a
potential trial date for Dr. Garcia. At the time, however, I did not know how long Mr. Schulte’s trial
would last or how long it would take to prepare.

         Mr. Schulte is a former CIA employee. A substantial amount of the discovery in his case is
classified, and I have been spending significant time in the courthouse SCIF, assisting him as he drafts
motions and other trial-related materials. Because the case involves classified evidence and a pro se
defendant, there are numerous, complex legal and procedural issues to address. In addition, electronic
devices are prohibited in the SCIF, so it is not possible to work on other matters while I am there. As a
result, I have not been able to devote as much time as expected to Dr. Garcia’s case. Nor, given the
complicated scientific evidence at issue in her trial, will I have sufficient time after Mr. Schulte’s trial
to prepare an adequate defense. Aaron Mysliwiec recently joined me as co-counsel on this matter, but
he is still getting up to speed and has other work obligations this summer that require his immediate
attention.

       I recognize the difficulty of scheduling trials, especially when multiple parties are involved,
and appreciate the Court’s consideration.




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                                      Respectfully submitted,

                                             /s/

                                      Deborah Colson
                                      Colson Law PLLC
                                      (917) 543-6490 (cell)



cc: AUSA Sarah Mortazavi
    AUSA Anden Chow
    Donald Rollock, Esq.
    Aaron Mysliwiec, Esq.




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